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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



   IN RE: JOHNSON & JOHNSON                                MDL NO. 16-2738 (FLW) (LHG)
   TALCUM POWDER PRODUCTS
   MARKETING, SALES PRACTICES,
   AND PRODUCTS LIABILITY
   LITIGATION



   THIS DOCUMENT RELA TES TO ALL CASES

                      4am4 Case Management Order No.

        (ESTABLISHING STANDARDS AND PROCEDURES FOR COUNSEL SEEKING
             REIMBURSEMENT FOR COMMON BENEFIT FEES AND COSTS)

   I.     SCOPE OF ORDER

          This Order is entered to provide standards and procedures for the fair and equitable sharing

   among plaintiffs, and their counsel, of the burden of services performed and expenses incurred by

   attorneys acting for the common benefit of all plaintiffs in this complex litigation.

           A.     Governing Principles and the Common Benefit Doctrine

          The governing principles are derived from the United States Supreme Courts common

   benefit doctrine, as established in Trustees v. Greenough, 105 U.S. 527 (1881); refined in, inter

   alia, Central Railroad & Banking Co. v. Pettus, 113 U.S. 116 (1884); Spragite v. Ticonic National

   Bank, 307 U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing Co. v.

   Van Gemert, 444 U.S. 472 (1980); and approved and implemented in the MDL context, in inter

   alia, In re Air Crash Disaster at Florida Everglades on December 29, 1972, 549 F.2d 1006, 1019-

   21(5th Cir. 1977); In re MGM Grand Hotel Fire Litigation, 660 F.Supp. 522, 525-29 (D. Nev.

   1987); In re Zyprexa   Prods.   Liab., 594 F.3d 113 (2d Cir. 2010); In re Vioxx Prods. Liab. Litig.,
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  MDL          No.       1657      (E.D.       La.        Aug.      4,      2005),       available       at

  http ://www.laed.uscourts.gov/vioxx/Orders/Orders.htm (follow “Pretrial Order No. 19 link).

  Common benefit work product includes all work performed for the benefit of all plaintiffs,

  including pre-trial matters, discovery, trial preparation, trial, a potential settlement process, and all

  other work that advances this litigation to conclusion.

          B.         Application of this Order

          This Order applies to all cases now pending, as well as to any case later filed in, transferred

  to, or removed to this Court and treated as part of the coordinated proceeding known as: In Re:

  Johnson & Johnson Talcum Powder Products Marketing, Sales Practices, And Products Liability

  Litigation, MDL No. 273$.

          This Order further applies to each attorney who represents a plaintiff with a case now

  pending in or later filed in, transferred to, or removed to this Court.

          C.         Establishing a Common Benefit Fee and Cost Fund

          At the appropriate time the Court will establish a mechanism for creating funds for

  reimbursing counsel for common benefit costs and awarding common benefit fees. The following

  standards and procedures are to be utilized by any counsel seeking reimbursement for common

  benefit costs and who may seek an award of common benefit fees.

  II.     PLAINTIFFS’ COUNSEL’S TIME AND EXPENSE SUBMISSIONS

          Reimbursement for costs and/or an award of fees for services of all plaintiffs’ counsel

  performing functions in accordance with this Order will be set at a time and in a manner established

  by the Court after due notice to all counsel and after a hearing. The following standards and

  procedures are to be utilized by any counsel seeking an award of fees and/or expense

  reimbursement.


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        A.    Time and Expense Reporting Forms

              (1) The Court hereby adopts two templates for the reporting of time and expenses.

              (2) The time reporting template that is attached to this Case Management Order as
                  Exhibit “A” that is titled “Talcum Powder Marketing, Sales Practices and
                  Product Liability Litigation- Time Detail Worksheet” shall be used by each
                  attorney submitting time that the attorney desires to be considered as common
                  benefit time. Specifically, all counsel shall keep a daily record of their time
                  spent in connection with common benefit work of this litigation, indicating with
                  specificity, the hours reported in one-tenth (l/Oth) of an hour increments,
                  location and particular activity (such as conduct of deposition of A.B.” or trial
                  and hearing attendance”). The failure to maintain such records, as well as
                  insufficient description of the activity, may result in a forfeiture of the time that
                  is reported that does not meet these requirements.

              (3) The template that is attached to this Case Management Order as Exhibit ‘B”
                  that is titled “Case Name: Talcum Powder Marketing, Sales Practices and
                  Product Liability Litigation” which is in an excel template format shall be used
                  by each firm to provide summary information as to the time reported by the
                  firm on a current monthly basis and on a cumulative basis, providing the name
                  of the timekeeper and the code for the type of work performed as well as the
                  timekeeper’s professional status and hourly rate information including a
                  calculated lodestar for both the current time period and cumulative time. Page
                  2 of Exhibit “B” is the portion of the monthly report that shall set forth the
                  expenses incurred by the law firm on both a current monthly basis and the firm’s
                  cumulative expenses.


        B.    General Standards

              (1)     All time and expenses submitted must be incurred only for work authorized
                      in advance by the Plaintiffs’ Executive Committee (“PEC”) or for work that
                      the PEC knows is being incurred without objection by the PEC to the
                      performance of the work.

              (2)     These Time and Expense Guidelines are intended for all activities
                      performed and expenses incurred by counsel that relate to matters common
                      to all claimants in MDL No. 273$. Further, any claimant’s counsel that may
                      seek at a later date reimbursement of expenses or compensation for common
                      benefit time (including any state court counsel) shall comply with these
                      Time and Expense Guidelines and any submission by such counsel shall be
                      in accordance with this Case Management Order.




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              (3)   The PEC has retained and the Court approves the retention of Alan B.
                    Winikur, CPA/ABV/CFF a Shareholder in Zelnick, Mann and Winikur, PC
                    to assist and provide accounting services to the PEC, Plaintiffs’ Liaison
                    Counsel, the Plaintiffs’ Steering Committee (“PSC”), and the Court in MDL
                    No. 273$. Alan B. Winikur will be assisting in compiling submissions and
                    will provide reports to the PEC. These reports will include both time and
                    expenses and will summarize, with back-up detail, the submissions of all
                    firms. Submission of time and expense records to Alan B. Winikur shall be
                    considered as if submitted under seal. Alan B. Winikur shall periodically
                    submit to the PEC detailed bills for all services rendered by himself and his
                    firm, Zelnick, Mann and Winikur, PC in connection with this litigation.
                    These bills shall be considered a shared cost, and these bills shall be paid
                    upon approval by the Court. See supra Paragraphs 11(C) & (D).

              (4)   Time and expense submissions must be submitted timely, on a monthly
                    basis, to Alan B. Winikur electronically at the website set up to handle
                    time/billing submissions at “Johnson & Johnson Talc MDL-2738.” It is
                    essential that each firm, on a monthly basis, timely submit its records for
                    the preceding month. All submissions shall be certified by a senior partner
                    in each firm attesting to the accuracy and correctness of the submission.

              (5)   The first submission is due on August 31, 2017 and should include all time
                    and expense through July 30, 2017. Thereafter, time and expense records
                    shall be submitted on the 15th of each month and shall cover the time period
                    through the end of the preceding month. Any time or expense records
                    submitted more than six (6) months in arrears may not be considered or
                    included in any compilation of time or expense calculation and shall be
                    disallowed, except for good cause shown and with Court approval.

        C.    Time Reporting

              (1)   Only time spent on matters common to all claimants in MDL No. 2738 will
                    be considered in determining fees. No time spent on developing or
                    processing any case for an individual client (plaintiff/claimant) will be
                    considered or should be submitted.

              (2)   All time must be accurately and contemporaneously maintained. Time shall
                    be kept in accordance with these guidelines.

              (3)   All time for each firm shall be maintained in one-tenth (1/10-th) of an hour
                    increments. Failure to do so may result in time being disallowed.

              (4)   All time records for each attorney that is recorded on the time reporting
                    template (Exhibit ‘A”) shall be submitted to the Alan B. Winikur website
                    noted above in Section II.A.(4), together with a summary report compiled

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                       by each law finn using the template attached to this Case Management
                       Order as Exhibit ‘B” of the total member firm time broken down by each
                       timekeeper and with a description of the task performed as set forth in the
                       template reflecting the time spent during the preceding month and the
                       accumulated total of all time incurred by the firm during the particular
                       reporting period. The summary report shall be uploaded to the “Johnson &
                       Johnson Talc MDL-2738” website established by Alan B. Winikur.

               (5)     The summary report form shall be certified by a senior partner of the
                       submitting firm each month attesting to the accuracy and correctness of the
                       monthly submission.

         D.    Expense Reporting

        (1)    Advanced costs will be deemed as either “Shared” or “Held.” Both Shared and Held
               Costs are those incurred for the common benefit of this MDL No. 2738 as a whole;
               no individual client-related costs will be considered as Shared or Held Costs.

        (2)    Until the Court establishes a Common Benefit Cost Fund, Shared Costs will be paid
               out of a separate PEC-MDL 2738 Fund account to be established by Plaintiffs’
               Liaison Counsel and to be funded by all members of the PEC, the PSC, and
               Plaintiffs’ Liaison Counsel. The PEC-MDL 2738 Fund account has been established
               at PNC Bank with an account title of: “Talc MDL Litigation Account.” The Talc
               MDL Litigation Account will be jointly administered by Plaintiffs’ Liaison Counsel,
               Christopher M. Placitella, Esquire, and Plaintiff Steering Committee members,
               Laurence S. Berman, Esquire and Sindhu S. Daniel, Esquire. Laurence S. Berman’s
               law office shall be the custodian of the account. Co-Lead Counsel Michelle A.
               Parfitt, Esquire and P. Leigh O’Dell, Esquire shall have oversight authority for the
               account.

        (3)    Held Costs are those that will be carried by each attorney in MDL No. 2738 and
               reimbursed as and when determined by the Court.

        (4)    Each member of the PEC, the PSC and Plaintiffs’ Liaison Counsel will contribute
               to the PEC-MDL No. 2738 Fund at times and in amounts sufficient to cover the
               administration of this MDL No. 2738. The timing and amount of each assessment
               will be determined by the PEC.

         E.    Shared Costs

         (1)   Shared Costs are costs incurred for the common benefit of this MDL No. 2738 as a
               whole. No individual client-related costs can be considered as Shared Costs. All
               costs of a substantial nature that are for the common benefit of this MDL No. 2738
               and fall under the following categories shall be considered Shared Costs and qualify
               to be submitted and paid directly from the PEC-MDL No. 2738 Fund account (Talc

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              MDL Litigation Account), until the Court establishes a Common Benefit Cost
              Fund. All Shared Costs must be approved by the PEC prior to the cost being
              incurred and prior to payment, or be of a nature that the PEC is aware that the costs
              are being or are to be incurred and there is no objection by the PEC to the costs
              being incurred. Shared Costs include:

                     a.      Court filing and service costs;
                     b.      Deposition and court reporter costs;
                     c.      Document Depository: creation, operation, staffing, equipment and
                             administration;
                     U.      Plaintiffs’ Liaison Counsel’s administrative costs involving such
                             matters as: expenses for equipment, technology, courier services,
                             long distance, conference calls, tele-copier, electronic service,
                             postage, meeting expenses, travel for administrative matters,
                             photocopy and printing, secretarial/temporary staff, etc.);
                     e.      PEC group administration matters such as meetings and
                             conference calls;
                     f       Legal and accountant fees;
                     g.      Expert witness and consultant fees and expenses;
                     li      Printing, copying, coding, shipping, scanning (both in and out of
                             house or extraordinary firm cost);
                     i.      Research by outside third party vendors/consultants/attorneys;
                     j.      Common witness expenses including travel;
                     k.      Translation costs;
                     1.      Bank or financial institution charges;
                     rn.     Investigative services;
                     n.      Claims Administrator charges;
                     o.      Special Master charges;
                     p.      CPA’s charges.

        (2)   The PEC or a member of the PSC or Plaintiffs’ Liaison Counsel, as the PEC shall
              direct, shall prepare and be responsible for distributing to the appropriate plaintiffs’
              counsel, the PEC, the PSC, Plaintiffs’ Liaison Counsel and other counsel claiming
              to be performing common benefit work and incurring common benefit expenses,
              reimbursement procedures and the forms associated therewith. Any request for
              payment must include sufficient information to allow the PEC and Alan B. Winikur
              to account properly for the costs incurred and for the request for reimbursement,
              and to provide adequate detail to the Court when requested by the Court.

        F.    Held Costs

        (1)   Held Costs are costs incurred for the global benefit of this MDL No. 2738. Held
              costs are those that do not fall into the above Shared Costs categories but are
              incurred for the benefit of all plaintiffs in general. No specific client-related costs


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              can be considered as Held Costs. All costs of a substantial nature that are for the
              common benefit and fall under the following categories shall be considered Held
              Costs and qualify to be submitted for consideration by the PEC and the Court for
              future reimbursement.

                     a.      Telefax charges
                     b.      Postage, shipping, courier, certified mail
                     c.      Printing and photocopying (in-house)
                     d.      Computerized research Lexis/Westlaw
                                                      -




                     e.      Telephone long distance (actual charges only)
                                         -




                     f       Travel pursuant to Travel Limitations set forth below, including
                                     -




                             travel for counsel to attend depositions, court or legislative matters.
                                     Airfare
                             ii      Reasonable ground transportation
                             iii     Hotel
                             iv      Reasonable meals and entertainment
                             v       Reasonable other (parking)
                             vi      Car rental, cabs, etc.

        G.    Travel Limitations

              Except in extraordinary circumstances approved by the PEC, PSC or Plaintiffs’
              Liaison Counsel all travel reimbursements are subject to the following limitations:

        (1)   Airfare. Only the lowest-price available coach airfare at time of booking (either at
              restricted coach rates or rates which allow the reservation to be rebooked without
              surcharge and other agency fees) for a reasonable itinerary will be reimbursed.
              Notwithstanding the foregoing, business class airfare shall be allowed for flights
              that exceed four-hours non-stop flight time or international flights. This provision
              applies to non-stop flights and shall apply to flights in excess of four hours based
              upon combined flight time for multiple segments. Airfare expense submissions
              must be supported by an invoice or receipt for airfare that shows class of airfare
              purchased, name of traveler, and destination. If an invoice or receipt is not
              available, a canceled check or credit card statement may be submitted provided an
              Affidavit from the traveler is also submitted stating that the expense was for coach
              airfare, within the limitations of this Case Management Order, and that the trip was
              for common benefit. If first class if flown and only coach fare is reimbursable, proof
              of applicable coach fare shall be submitted.

        (2)   Hotel. Hotel room charges will be reimbursed up to the greater of (a) $300 per
              night excluding taxes, or (b) the average available room rate of the Hyatt, Hilton,
              and Marriott hotels (or comparable) in that city. Hotel expense submissions must
              be supported by a hotel issued receipt. By way of example, in the event a hotel is
              required in a city where the usual room rate for a Hyatt, Hilton, Starwood, MalTiott,
              Westin or comparable hotel in that city exceeds $300 per night (e.g., New York

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               City), then the amount of the hotel expense will be reimbursed even though it may
               exceed the $300 per night excluding taxes cap, provided the hotel stay was in a
               Hyatt, Hilton, Starwood, Marriott or comparable hotel. In the event the booking of
               a hotel had to occur on a last-minute basis, and a room was not available in a Hyatt,
               Hilton, Starwood, Marriott or comparable hotel, and the room rate for the hotel that
               was utilized exceeded $300 per night excluding taxes, upon showing of the
               necessity for obtaining the room under such circumstances, the hotel room expense
               will be reimbursed.

        (3)    Meals. Meal expenses must be reasonable. Meal expense submissions must be
               supported by receipts or credit card statements that reflect the date and those
               partaking in the meal. Meal expenses should not include alcohol.

        (4)    Cash Expenses. Miscellaneous cash expenses for which receipts generally are not
               available (tips, luggage handling, pay telephone, etc.) will be reimbursed up to
               $50.00 per trip, as long as the expenses are properly itemized.

        (5)    Rental Automobiles. Luxury automobile or limousine rentals will not be fully
               reimbursed. If luxury automobiles or Limos are selected, then the difference
               between the luxury and non-luxury vehicle rates must be shown on the travel
               reimbursement form, and only the non-luxury rate may be claimed. Rental
               automobile expense submissions must be supported by receipts or credit card
               statements. Such rentals shall be limited for purposes of traveling to or from
               meetings, hotel, court appearances and airport. The use of hired limousines is
               discouraged.

        (6)    Mileage. Mileage claims must be documented by stating origination point,
               destination, total actual miles for each trip, and the rate per mile paid by the
               member’s firm. The maximum allowable rate will be the maximum rate allowed by
               the IRS (currently (calendar year 2017) 53.5 cents per mile).

        H.     Non-Travel Limitations

        The following apply:

        (1)    Long Distance and Cellular Telephone: Long distance and cellular telephone
               charges must be documented. Copies of the telephone bills must be submitted with
               notations as to which charges relate to this litigation.

        (2)    Shipping, Courier, and Delivery Charges: All claimed expenses must be
               documented with bills showing the sender, origin of the package, recipient, and
               destination of the package.




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          (3)    Postage Charges: A contemporaneous postage log or other supporting
                 documentation must be maintained and submitted. Postage charges are to be
                 reported at actual cost.

         (4)     Telefax Charges: Contemporaneous records should be maintained and submitted
                 showing faxes sent and received. The per-fax charge shall not exceed $1.00 per
                 page.

         (5)     In-House Photocopy: A contemporaneous photocopy log or other supporting
                 documentation must be maintained and submitted. The maximum copy charge is
                 250 per page.

         (6)     Computerized Research Lexis/Westlaw: Claims for Lexis, Westlaw, and other
                                            -




                 computerized legal research expenses should be in the exact amount charged to the
                 firm for these research services. If any bulk rate or reduced rates are applicable,
                 the lowest cost incurred by the firm shall be charged.

  III.   PROCEDURES TO BE ESTABLISHED TO IMPLEMENT AND CARRY OUT
         THE TIME AND EXPENSE SUBMISSIONS REQUIRED BY THE COURT AND
         NECESSARY TO COMPILE AND MAINTAIN THE RECORDS

         Alan B. Winikur has established forms and procedures to implement and carry out the time

  and expense submissions required by the Court and necessary to compile and maintain the records.

  These forms are attached hereto as Exhibits “A” and “B” and are available in electronic format

  from Alan B. Winikur upon accessing the website he has established for reporting time and

  expenses. The website shall be user word and password protected. Exhibit “A” shall be the form

  to be submitted on a monthly basis showing the specific common benefit work performed during

  the month, while Exhibit ‘B” shall be the form to be submitted on a monthly basis showing the

  cumulative common benefit work performed as well as the common benefit expenses incurred on

  both a current and cumulative basis.

         Questions regarding the guidelines or procedures or the completion of any forms should be

  directed to: Michelle A. Parfitt, Esquire, P. Leigh O’Dell, Esquire as Co-Lead Counsel, or to

  Laurence S. Berman, Esquire as a member of the PSC and the Administrative Sub-Committee

  established to, inter alia, manage the time and expense reporting.

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         Approved by the Court this   day of________________ 2017.




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                         Exhibit A
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      TALCUM POWDER MARKETING, SALES PRACTICES AND PRODUCT LIABILITY
                              LITIGATION
                         Time Detail Worksheet
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                                       Exhibit B
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CASE NAME TALCUM POWDER MARKETING, SALES PRACTICES AND PRODUCT LIABILITY LITIGATION

FIRM NAME:




*professjonal Status:   P-Partner   A-Associate   OC-Of Counsel   PL-Paralegal       LC-Law Clerk
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                                 EXPENSE REPORT
                                                       Current            Cumulative
                    Category                           Expenses            Expenses

Assessments                                                           -               -
Commercial Copies
Computerized Research (Westlaw, Lexis, etc.)                              I       6
                                                                                      —


                                                                                      —


Court Reporters/Transcripts
Expert Services
Facsimile                                                                     .

Filing & Service Fees
In-House Copies
Long Distance Telephone                                                               -




Postage/Express Delivery                                                              -




Travel/Meals/Lodging                                                                  -




Miscellaneous (Describe)                                                              -




TOTAL EXPENSES:                                                   -                   -




                                                             RECAP OF CUMULATIVE TOTALS


                                               TOTAL CUMULATIVE HOURS TO DATE


                                               TOTAL CUMULATIVE           FEES        TO DATE


                                          TOTAL CUMULATIVE EXPENSES TO DATE


*                                  TOTAL CUMULATIVE        FEES AND EXPENSES TO DATE
